      Case 1:19-cv-06136-SDA Document 36 Filed 11/04/20 Page 1 of 1




                            CILENTI & COOPER, PLLC
                                        ATTORNEYS AT LAW                                   11/4/2020
                                              10 Grand Central
                                        155 East 44th Street - 6th Floor
                                         New York, New York 10017
                                                    _____
                                          Telephone (212) 209-3933
                                          Facsimile (212) 209-7102


                                                  November 4, 2020

                                                  MOTION FOR EXTENSION

BY ECF
Honorable Stewart D. Aaron, U.S.M.J.             Application GRANTED. SO ORDERED.
United States District Court                     Dated: November 4, 2020
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:             Fortino Martinez v. Felipe’s Pizza and Restaurant, et. al.
       Case No.:       19 Civ. 6136 (SDA)

Dear Judge Aaron,

        Pursuant to Rules 1(A) and 1(D) of Your Honor’s Individual Motion Practices, this letter
respectfully serves as the parties’ request to extend the filing deadline of the parties’ joint motion
for approval of their settlement. The current deadline is November 5, 2020 [Docket 34] and the
requested new filing deadline date is November 20, 2020.

       The reason for the extension is defendants are still reviewing the proposed agreement and
have yet to execute.

       This is the parties’ first request for an extension of this deadline, and it is with plaintiff’s
consent. The requested extension and adjournment would not affect any other scheduled dates.

       We thank the Court for considering this matter.

                                                  Respectfully,
                                                  /s/ Peter H. Cooper
                                                  Peter H. Cooper

cc:   Defense Counsel (Via ECF)
